                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

JOHN RUFFINO, et al.,                            )
                                                 )
        Plaintiffs,                              )
                                                 )
v.                                               )        NO. 3:17-cv-00725
                                                 )
CLARK ARCHER,                                    )        JUDGE CAMPBELL
                                                 )        MAGISTRATE JUDGE NEWBERN
        Defendant.                               )
                                                 )
                                                 )

                                            ORDER

       The Court having been advised that this action has been settled, the action is dismissed

without prejudice to the right, upon good cause shown within thirty (30) days, to reopen the action

if the settlement is not consummated. On or before January 3, 2020, the parties must submit a

proposed agreed order of compromise and dismissal or otherwise notify the court.

       The trial set for January 7, 2020, and the pretrial conference set for December 30, 2019,

are cancelled.

       It is so ORDERED.

                                                     ____________________________________
                                                     WILLIAM L. CAMPBELL, JR.
                                                     UNITED STATES DISTRICT JUDGE




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